Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 1 of 9



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.:

 PATRICK LINEHAN,

         Plaintiff,

 v.

 THE CHEESECAKE FACTORY RESTAURANTS, LLC, a
 foreign corporation, and GRAND LUX CAFE
 LLC, a foreign limited liability company,

       Defendants.
 __________________________________________/

              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

         Plaintiff, PATRICK LINEHAN (“Linehan”), by and through his undersigned counsel,

 files this Complaint for Damages and Demand for Jury Trial against Defendants, THE

 CHEESECAKE FACTORY RESTAURANTS, LLC and GRAND LUX CAFE LLC

 (collectively, “Defendants”), and alleges as follows:

                                 JURISDICTION AND VENUE

         1.      This is an action for damages for violations of the Americans with Disabilities

 Act of 1990 (“ADA”), the Americans with Disabilities Act Amendments Act of 2008

 (“ADAAA”), and the Family and Medical Leave Act of 1993 (“FMLA”).

         2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331 and

 1343.

         3.      Plaintiff is and was, at all relevant times, a resident of Palm Beach County,

 Florida and is over the age of 18.

         4.      Defendant, THE CHEESECAKE FACTORY RESTAURANTS, LLC is a foreign
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 2 of 9
                                                    Linehan v. The Cheesecake Factory Inc. et al.
                                                  Complaint for Damages and Jury Trial Demand
                                                                                    Page 2 of 9

 corporation which conducts business throughout Florida, including Palm Beach County, Florida.

        5.      Defendant, GRAND LUX CAFE LLC is a foreign limited liability company

 which conducts business throughout Florida, including Palm Beach County, Florida.

        6.      At all relevant times, Plaintiff was and continues to be a full-time employee of

 Defendants in Palm Beach County, Florida.

        7.      At all relevant times, Defendants employed no less than fifty (50) employees.

        8.      Defendants are, therefore, an employer as defined by the ADA, ADAAA, and

 FMLA.

        9.      Linehan alleges causes of actions for violations of the ADA, ADAAA and FMLA,

 as a result of the discriminatory and retaliator treatment to which Defendants subjected Linehan.

        10.     The violations complained of herein occurred in Palm Beach County, Florida and,

 as such, venue is proper in this Court.

        11.     Linehan has exhausted his administrative remedies by filing a timely charge of

 discrimination against Defendants with the U.S. Equal Employment Opportunity Commission

 (“EEOC”) and filing a Charge of Discrimination within the applicable ninety-day deadline.

        12.     All other conditions precedent have been satisfied.

                                   GENERAL ALLEGATIONS

        13.     Defendants are companies which own and operate The Cheesecake Factory and

 Grand Lux Cafe restaurant chains.

        14.     Linehan began his employment with Grand Lux Cafe in 2011 and, despite a

 significant reduction in hours, compensation and responsibilities following his return from

 FMLA leave, remains employed to date.
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 3 of 9
                                                    Linehan v. The Cheesecake Factory Inc. et al.
                                                  Complaint for Damages and Jury Trial Demand
                                                                                    Page 3 of 9

        15.     During his approximately seven-year tenure (the majority of which he worked as

 a bartender), Linehan has been an exemplary employee who never received any disciplinary

 actions.

        16.     As evidence satisfactory performance, on April 4, 2018, Linehan received the

 Medallia Award for outstanding guest service.

        17.     In March 2017, Linehan was diagnosed with stage 4 congestive heart failure—a

 serious health condition and disability which mandated hospitalization and constant medical

 supervision.

        18.     These significant health issues required Linehan to request a leave absence

 pursuant to the ADA, ADAAA and FMLA. He commenced such leave on March 31, 2017 and

 remained out of work (in accordance with doctor’s orders and with the approval of Defendants)

 until February 6, 2018.

        19.     Upon returning from leave on February 6, 2018, Linehan was immediately

 welcomed with unwarranted harassment, hostility and retaliation—particularly from Rebecca

 Jones (General Manager) and Lori Lange (Assistant General Manager).

        20.     Among other things, (i) Linehan was required to participate in several training

 sessions which, as a long-time employee, was completely unnecessary, (ii) he was assigned shifts

 as an “expo” and server (rather than a bartender) which resulted in at least a $10 per hour pay

 cut, (iii) when assigned bartender shifts, such shifts were deemed “training hours” for which he

 was not entitled to any tips, (iv) he was ultimately demoted to a server and was no longer

 provided any bartender shifts, (v) his shifts have now been limited to three hours, during many of

 which he is sent home early, and (vi) he was demoted from full-time to part-time status which
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 4 of 9
                                                        Linehan v. The Cheesecake Factory Inc. et al.
                                                      Complaint for Damages and Jury Trial Demand
                                                                                        Page 4 of 9

 removed him from eligibility for numerous company benefits, including health insurance.

         21.        When. Linehan advised the General Manager that the FMLA required Defendants

 to restore him to the same or equivalent position upon his return, she scoffed at him and

 demanded to see the “paperwork” which imposed such obligations.

         22.        Defendants’ discriminatory and retaliatory treatment of Linehan continues to date

 as he has yet to be returned to a position which is the same or equivalent position, and his shifts

 continue to be prematurely cut by Rebecca Jones.

                                     COUNT I
               DISABILITY DISCRIMINATION UNDER THE ADA AND ADAAA
         23.        The allegations set forth in paragraphs 1 through 22, inclusive, of this Complaint

 are incorporated herein with the same force and effect as if fully rewritten.

         24.        The ADA and ADAAA prohibit employers from taking adverse employment

 actions against an employee as a result of his disability.

         25.        Linehan suffers from a disability which substantially limited one or more major

 life activities.

         26.        As set forth above, Linehan was and is a qualified individual who can perform the

 essential functions of his position with or without reasonable accommodation.

         27.        Defendants discriminated against Linehan because of his disability and, at the

 very least, Linehan’s disability were motivating factors in adverse employment actions to which

 Linehan was subjected.

         28.        Linehan has been damaged as a direct and proximate result of Defendants’

 intentional and willful violation of the ADA and ADAAA.
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 5 of 9
                                                       Linehan v. The Cheesecake Factory Inc. et al.
                                                     Complaint for Damages and Jury Trial Demand
                                                                                       Page 5 of 9

          29.      Even if Defendants could assert an alleged bases for their adverse and disparate

 treatment of Linehan, such bases is pretextual and asserted only to hide the discriminatory nature

 of its conduct.

          30.      Linehan’s damages as a result of Defendants’ discriminatory actions include,

 without limitation, loss of wages (both back and front pay) and compensatory damages

 (including humiliation, emotional pain, distress, loss of self-esteem, loss of dignity, loss of

 enjoyment of life, and loss of health insurance and other benefits).

          31.      Linehan, based upon information and belief, alleges that Defendants’ actions were

 done with malice, and with disregard for his protected rights under the ADA and ADAAA.

 Defendants condoned and/or ratified the unlawful conduct of its management personnel.

 Therefore, Linehan is also entitled to punitive damages from Defendants in a sum to be proved at

 trial.

          32.      Linehan further seeks his attorneys’ fees and costs as permitted by law.

          WHEREFORE, Plaintiff, Patrick Linehan requests judgment against Defendants as

 follows:

          a. An award of economic damages including, lost wages, back pay, front pay, damages,

                and the value and/or economic impact of lost benefits;

          b. Compensatory damages;

          c. Punitive damages;

          d. Prejudgment interest on all monetary recovery obtained;

          e. Attorneys’ fees and costs; and

          f. Any other award this Court deems just and necessary.
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 6 of 9
                                                     Linehan v. The Cheesecake Factory Inc. et al.
                                                   Complaint for Damages and Jury Trial Demand
                                                                                     Page 6 of 9

                                     COUNT II
                       RETALIATION UNDER THE ADA AND ADAAA
          33.    The allegations set forth in paragraphs 1 through 22, inclusive, of this Complaint

 are incorporated herein with the same force and effect as if fully rewritten.

          34.    Linehan requested and took a medically necessary leave of absence as a result of

 his disclosed disability.

          35.    As a result of such request and taking of leave, Defendants retaliated against

 Linehan by demoting him, reducing his pay and engaging in other adverse employment actions.

          36.    These retaliatory actions constitute adverse employment actions under the ADA

 and ADAAA.

          37.    Linehan, based upon information and belief, alleges that Defendants’ actions were

 done with malice, and with disregard for his protected rights under the ADA and ADAAA.

 Defendants condoned and/or ratified the unlawful conduct of its management personnel.

 Therefore, Linehan is entitled to punitive damages from Defendants in a sum to be proved at

 trial.

          38.    Linehan’s damages as a result of Defendants’ discriminatory actions include,

 without limitation, loss of wages (both back and front pay) and compensatory damages

 (including humiliation, emotional pain, distress, loss of self-esteem, loss of dignity, loss of

 enjoyment of life, and loss of health insurance and other benefits).

          39.    Linehan, based upon information and belief, alleges that Defendants’ actions were

 done with malice, and with disregard for his protected rights under the ADA and ADAAA.

 Defendants condoned and/or ratified the unlawful conduct of its management personnel.
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 7 of 9
                                                      Linehan v. The Cheesecake Factory Inc. et al.
                                                    Complaint for Damages and Jury Trial Demand
                                                                                      Page 7 of 9

 Therefore, Linehan is also entitled to punitive damages from Defendants in a sum to be proved at

 trial.

           40.    Linehan further seeks his attorneys’ fees and costs as permitted by law.

           WHEREFORE, Plaintiff, Patrick Linehan requests judgment against Defendants as

 follows:

     a. An award of economic damages including, lost wages, back pay, front pay, damages, and

           the value and/or economic impact of lost benefits;

     b. Compensatory damages;

     c. Punitive damages;

     d. Prejudgment interest on all monetary recovery obtained;

     e. Attorneys’ fees and costs; and

     f. Any other award this Court deems just and necessary.

                                          COUNT III
                                 RETALIATION UNDER THE FMLA

           41.    The allegations set forth in paragraphs 1 through 22, inclusive, of this Complaint

 are incorporated herein with the same force and effect as if fully rewritten.

           42.    Linehan requested and took a medically necessary leave of absence as a result of

 his serious health condition.

           43.    Linehan engaged in protected activity under the FMLA by exercising his FMLA

 rights.

           44.    Defendants retaliated against Linehan for engaging in protected activity under the

 FMLA by demoting him, reducing his pay, and engaging in other adverse employment actions.

           45.    Defendants’ actions were willful and done with malice.
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 8 of 9
                                                        Linehan v. The Cheesecake Factory Inc. et al.
                                                      Complaint for Damages and Jury Trial Demand
                                                                                        Page 8 of 9

        WHEREFORE, Plaintiff, Patrick Linehan requests judgment against Defendants as

 follows:

        a. An award of economic damages including, lost wages, back pay, front pay, damages,

            and the value and/or economic impact of lost benefits;

        b. Liquidated damages;

        c. Reinstatement to a position comparable to Linehan’s prior position with back pay (plu

            interest) and all other benefits;

        d. Prejudgment interest on all monetary recovery obtained;

        e. Attorneys’ fees and costs; and

        f. Any other award this Court deems just and necessary.

                                     JURY TRIAL DEMAND

        Linehan demands trial by jury as to all issues so triable.

        Dated this 13th day of August, 2018.

                                                Respectfully Submitted,

                                                GREENSPOON MARDER, P.A.

                                                By: /s/ ______
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                                                and
Case 9:18-cv-81079-RLR Document 1 Entered on FLSD Docket 08/13/2018 Page 9 of 9
                                         Linehan v. The Cheesecake Factory Inc. et al.
                                       Complaint for Damages and Jury Trial Demand
                                                                         Page 9 of 9

                                    LAW OFFICES OF LEVY & LEVY, P.A.

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